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                              IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF OREGON

                                           PORTLAND DIVISION

     LINDA HEDLUND,                                       Case No. 3:20-cv-01527-HZ

                                   Plaintiff,             FINAL JUDGMENT

            v.

     BANKS FIRE DISTRICT #13; and FIRE
     CHIEF RODNEY LINZ, in his individual and
     representative capacity,

                                   Defendants.


            Having reviewed and duly considered the Stipulation for Entry of Final Judgment filed

     by Plaintiff Linda Hedlund (“Hedlund”) and Defendants Banks Fire District #13 (“Banks Fire

     District”) and Fire Chief Rodney Linz (“Linz”), Plaintiff’s Notice of Acceptance of Defendants’

     Offer of Judgment filed pursuant to Fed. R. Civ. P. 68, and Defendants’ Offer of Judgment filed

     pursuant to Fed. R. Civ. P. 68,

            THIS COURT HEREBY ORDERS that Final Judgment shall be entered in favor of

     Hedlund and against Banks Fire District and Linz in an amount of $115,001.00 of which



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     $51,750.45 shall be allocated as economic damages and $63,250.55 shall be allocated as non-

     economic damages.

            THIS COURT FURTHER ORDERS that Banks Fire District and Linz are jointly and

     severally liable to pay an additional $135,000.00 to Hedlund’s counsel of record for plaintiff’s

     attorney’s fees and costs.

            THIS COURT FURTHER ORDERS that defendants shall remit all sums due within 30

     days of the date of this Final Judgment.



     IT IS SO ORDERED.



     _________________
      September 7, 2021                    ______________________________________
     Date                                  Chief U.S. District Judge Marco A. Hernandez




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